Case 2:21-cv-00802-LK Document 45 Filed 09/30/22 Page 1 of 2

THE HONORABLE LAUREN KING

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
FANTAGRAPHICS BOOKS, INC.,
2:21-cv-00802 - LK
Plaintiff,
JOINT MOTION FOR AND
JOINT DECLARATION OF
v KENNETH P. NORWICK
AND MARC H. GREENBERG
EMIL FERRIS, IN SUPPORT OF STAY
Defendant,

Counter-Claimant,

FANTAGRAPHICS BOOKS, INC,

Counter-Defendant.

KENNETH P. NORWICK AND MARC H. GREENBERG EACH DECLARE
UNDER PENALTY OF PERJURY THAT THE FOLLOWING IS TRUE AND
CORRECT:

1. Declarants, lead counsel respectively for Plaintiff Fantagraphics Books, Inc. and for

Defendant Emil Ferris, are pleased to advise the Court that the Parties have executed a PRO-

JOINT MOTION AND DECLARATION FOR STAY Endejan Law, LLC
2:21-cv-00802 - LK ] 5109 23rd Ave W.
Everett, WA 98203
Case 2:21-cv-00802-LK Document 45 Filed 09/30/22 Page 2 of 2

VISIONAL SETTLEMENT AGREEMENT that contemplates the full and final termination of this
Action with prejudice.

2. That Agreement, however, is not yet fully consummated, with that consummation
expected this coming December 2022. More specifically, what is required to accomplish that
consummation is Ferris’ promised timely delivery to F antagraphics, for publication by it, of her
final manuscript for “Book 2" of Ferris’ work MY FAVORITE THING IS MONSTERS.

3. In light of this development, the parties respectfully submit that it would be appropriate
~~ in fact necessary for that consummation to be achieved -- for the Court at this time to enter an
order staying all activity and deadlines in the case through December 18, 2022. The parties assume
that in the event such a Stay expires before consummation of the Agreement can be achieved, they
shall be deemed to be in the same litigation position they are in at the filing of this Motion and
Declaration. Accordingly, the Parties hereby jointly request the entry of such an order.

4. Declarants are fully prepared to address any questions the Court may have in this
connection.

Dated: Septembe 0 22 ‘

Kenneth P. Norwick Marc H. Greenberg
JOINT MOTION AND DECLARATION FOR STAY Endejan Law, LLC
2:21-cv-00802 - LK 2 5109 23rd Ave W.

Everett, WA 98203
